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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.:

 CASSANDRA FABIEN,

                Plaintiff,
 v.

 SENIOR NANNIES HOME CARE
 SERVICES, LLC, GARY R. LOFFREDO,

             Defendants.
 __________________________________/

                                           COMPLAINT
                                       {Jury Trial Demanded}

        Plaintiff, CASSANDRA FABIEN, brings this action against Defendants, SENIOR

 NANNIES HOME CARE SERVICES, LLC and GARY R. LOFFREDO, pursuant to the Fair

 Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff CASSANDRA FABIEN was a resident of the State

 of Florida and an “employee” of Defendants as defined by the FLSA.

 3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA including but not limited to telephone

 communication with patietns’ family members outisde Florida such as Cuba.

 4.     At all times material hereto, Defendant, SENIOR NANNIES HOME CARE SERVICES,

 LLC, was a Florida corporation with its principal place of business in South Florida, engaged in

 commerce in the field of home healthcare, at all times material hereto was the “employer” of

 Plaintiff as that term is defined under statutes referenced herein, engaged along with its employees

 in interstate commerce, and has annual gross sales and/or business volume of $500,000 or more.
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 5.     Defendant, GARY R. LOFFREDO, is a resident of Broward County, Florida and was, and

 now is, a manager of Defendant, SENIOR NANNIES HOME CARE SERVICES, LLC, controlled

 Plaintiff’s duties, hours worked, and compensation, and managed the day-to-day operations of

 SENIOR NANNIES HOME CARE SERVICES, LLC. Accordingly, GARY R. LOFFREDO was

 and is an “employer” of the Plaintiff within the meaning of 29 U.S.C. §203(d).

 6.     Two or more of Defendants’ employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 7.     Plaintiff CASSANDRA FABIEN worked for Defendants as a licensed practical nurse.

 8.     Defendants failed to pay Plaintiff’s full and proper overtime wages of 1.5 times Plaintiff’s

 regular hourly rate for hours worked over 40 each week.

 9.     Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 10.    Defendants have knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 11.    Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 12.    Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.
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                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 13.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-12 above as if

 set forth herein in full.

 14.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 15.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                               Respectfully submitted,

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